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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
                                                              :
ACP MASTER, LTD.,                                             :
                                                              :
                                    Plaintiff,                :
                                                              :   No. 19 Civ. ___
                  - against -                                 :
                                                              :   COMPLAINT
THE REPUBLIC OF ARGENTINA,                                    :
                                                              :
                                    Defendant.                :
                                                              :
--------------------------------------------------------------x


                 Plaintiff ACP Master, Ltd. (“Plaintiff”), by its undersigned counsel,

alleges as follows, based upon knowledge as to its own acts and upon information and

belief as to all others:

                                       Nature of the Action

                 1.        This is an action for breach of contract brought to recover unpaid

amounts due on securities issued by defendant the Republic of Argentina

(“Argentina”). The securities are the 2005-issued U.S. Dollar-Denominated New York

law GDP-Linked Securities (ISIN: US040114GM64) and the 2010-issued U.S. Dollar-

Denominated New York law GDP-Linked Securities (ISIN: XS0501197262). These

securities are referred to herein respectively as the “2005 GDP Warrants” and the

“2010 GDP Warrants,” and collectively as the “GDP Warrants” or the “Warrants.”

                 2.        Argentina issued the GDP Warrants in 2005 and 2010 as part of

exchange offers pursuant to which defaulted debt previously issued by Argentina was

exchanged for new securities issued by Argentina. In the exchange offers, holders of

defaulted bonds received new bonds representing a steep “haircut” from the face



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amount (or interest coupon) of the bonds they were tendering, plus GDP Warrants

providing for contingent additional payments based on the performance of the

Argentine economy through 2035 (after which the GDP Warrants expire). In essence,

tendering bondholders provided Argentina many billions of dollars of debt relief in

return for a participation in the ensuing growth of Argentina’s economy.

               3.     The GDP Warrants were an important part of that bargain. If

Argentina’s economy performed well, the holders of the GDP Warrants would be

entitled to receive a maximum payout of approximately $8.1 billion. In fact, the holders

of GDP Warrants received payments for six of the first seven years they were

outstanding (2005 through 2011, except 2009). The payments for those six years

totaled about $2.9 billion. Even if the Warrants eventually pay the $8.1 billion

maximum payout, that future value would be less than the steep haircuts bondholders

took in the 2005 and 2010 exchange offers.

               4.     The terms of the GDP Warrants contain two tests for determining

whether a payment is due in respect of Argentina’s economic performance in any given

year—what the Warrants refer to as a Reference Year. Those tests both relate to

Argentina’s real (i.e., in constant prices) gross domestic product (“GDP”). In the first

test, Argentina’s actual real GDP for the Reference Year must exceed the “base case”

real GDP for that year set forth in the Warrant documentation. In the second test, the

growth rate for such actual real GDP as compared to the prior year’s actual real GDP

must exceed the growth rate for the corresponding base case figures. If both of these

tests are satisfied for a Reference Year, a payment will be due on the Warrants for that




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year (up to the $8.1 billion maximum), and the amount of the payment will be

determined by a formula set forth in the terms of the Warrants.

                  5.       For Reference Year 2013, these two tests were both satisfied:

actual real GDP exceeded the base case GDP, and actual real GDP growth exceeded

base case GDP growth. As a result, the Warrants required Argentina to pay

$1,321,922,620, or 7.680% of the notional amount of the GDP Warrants. That amount

should have been paid on December 15, 2014.1 Argentina has breached its contractual

obligations by failing to make this payment.

                  6.       Plaintiff owns $1,439,263,344 notional amount of GDP

Warrants—$503,558,976 of the 2005 GDP Warrants and $935,704,368 of the 2010

GDP Warrants. For Reference Year 2013, Argentina should therefore have paid

$110,535,873 on December 15, 2014 on account of Plaintiff’s GDP Warrants. No part

of this amount has been paid, and accordingly Argentina currently owes Plaintiff

$159,077,777 as of the date of this complaint, taking into account pre-judgment interest

under New York law at the statutory rate of 9.0% per annum. Plaintiff therefore seeks

judgment for damages in an amount equal to $159,077,777 plus all additional

prejudgment interest through the entry of the judgment and post-judgment interest

thereafter until payment is made.




         1
           Plaintiff understands that Argentina or its instrumentalities currently own a substantial portion
of the GDP Warrants, so the amount that Argentina owes to holders other than itself is somewhat less
than the figure above.


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                                       The Parties

               7.      Plaintiff ACP Master, Ltd. is a Cayman Islands exempted

company. It is the beneficial owner of $503,558,976 notional amount of 2005 GDP

Warrants and $935,704,368 notional amount of 2010 GDP Warrants.

               8.      In the Global Security (as defined below) for the GDP Warrants,

Argentina expressly acknowledged “the right of any beneficial owner [of GDP

Warrants] to pursue [a remedy under the Governing Documents (as defined below)]

with respect to the portion of the Global Security that represents such beneficial

owner’s interest as if Certificated Securities had been issued to such beneficial owner.”

(2005 Global Security (Exhibit B hereto), § 11; 2010 Global Security (Exhibit D

hereto), § 9.) Accordingly, Plaintiff has the right to bring this action on its own behalf

to pursue the remedies available to a holder of the Global Security with respect to its

beneficial holdings.

               9.      Defendant the Republic of Argentina is a foreign state as defined

in 28 U.S.C. § 1603(a).

                          Jurisdiction, Venue and Choice of Law

               10.     In the Governing Documents, Argentina explicitly and

irrevocably waived sovereign immunity to the fullest extent permitted by the laws of the

United States in any action with respect to the GDP Warrants. Thus, Argentina is not

entitled to immunity under 28 U.S.C. §§ 1605-1607 or under any applicable

international agreement, and this Court therefore has jurisdiction pursuant to 28 U.S.C.

§ 1330.

               11.     In the Governing Documents, Argentina irrevocably submitted to

the jurisdiction of this Court over any action with respect to the GDP Warrants, and

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appointed Banco de la Nación Argentina, at its office at 225 Park Avenue, New York,

New York 10169, as its authorized agent for service of process.

               12.     In the Governing Documents, Argentina waived any objection

based on venue or otherwise to any action with respect to the GDP Warrants being

brought in this Court, and venue is proper in this district pursuant to 28 U.S.C.

§ 1391(f).

               13.     Argentina agreed that the Governing Documents shall be

governed by, and construed in accordance with, the laws of the State of New York

without regard to principles of conflicts of laws.

                                   Factual Allegations

               14.     The “Governing Documents” for the GDP Warrants include:

(i) the Trust Indenture, dated as of June 2, 2005 (a copy of which is attached hereto as

Exhibit A); (ii) the 2005 Form of Registered Global Security (the “2005 Global

Security”), applicable to the 2005 GDP Warrants only (a copy of which is attached

hereto as Exhibit B); (iii) the First Supplemental Indenture, dated as of April 30, 2010,

applicable to the 2010 GDP Warrants, but not the 2005 GDP Warrants (a copy of which

is attached hereto as Exhibit C); and (iv) the 2010 Form of Registered Global Security

(the “2010 Global Security”), applicable to the 2010 GDP Warrants only (a copy of

which is attached hereto as Exhibit D).

               15.     The 2005 and 2010 Global Securities are substantially the same,

and are referred to herein collectively as the “Global Security.” To the extent not

otherwise defined herein, all capitalized terms have the meaning set forth in the Global

Security.



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               16.     There are two tests to determine whether Argentina owes a

Payment Amount for a particular Reference Year.

               17.     Under the first test, the Payment Amount for that Reference Year

must be determined. The Payment Amount is determined by comparing Actual

Nominal GDP to Nominal Base Case GDP for the Reference Year to arrive at Excess

GDP, which is then subject to certain further adjustments to arrive at the Payment

Amount. If the Payment Amount is not positive, then nothing is due under the GDP

Warrants.

               18.     Under the second test, if the Payment Amount is positive, it is

only due if three conditions specified in the Global Security are met—(i) Actual Real

GDP exceeds Base Case GDP for the Reference Year; (ii) Actual Real GDP Growth

exceeds Base Case GDP Growth for the Reference Year; and (iii) the aggregate

payments to date under the GDP Warrants and the Payment Amount do not exceed the

Payment Cap.

               19.     As explained below, for Reference Year 2013, the Payment

Amount was positive—$0.07680 per notional dollar of GDP Warrants—and all three

conditions were satisfied, so the Payment Amount was due December 15, 2014.

Exhibit E, attached hereto, sets forth the calculations with respect to the Payment

Amount and the conditions.

Test 1: The Payment Amount for Reference Year 2013 Was Positive

               20.     The Payment Amount is determined on the Calculation Date,

defined in the Global Security as “for any Reference Year, the 1st of November of the

calendar year following such Reference Year”; and payment is supposed to be made on

the Payment Date, defined in the Global Security as “for any Reference Year, the 15th

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of December of the calendar year following such Reference Year . . . .” So for

Reference Year 2013, the Calculation Date was November 1, 2014 and the Payment

Date was December 15, 2014.

              21.     The Payment Amount is based upon GDP data published by the

National Institute of Statistics and Censuses (known by its Spanish acronym, INDEC),

the Argentine government agency officially responsible for publishing economic data

for the country. INDEC publishes data reflecting Actual Real GDP, which under the

Global Security “means for any Reference Year the gross domestic product of

Argentina for such Reference Year measured in constant prices for the Year of Base

Prices, as published by INDEC.”

              22.     Year of Base Prices as defined in the Global Security “means

the year 1993; provided that if the calendar year employed by INDEC for purposes of

determining Actual Real GDP shall at any time be a calendar year other than the year

1993, then the Year of Base Prices shall mean such other calendar year.” When the

Warrants were issued and the Base Case GDP values were originally set, the Year of

Base Prices was 1993. In 2014, Argentina announced that it was changing the Year of

Base Prices to 2004. As explained below, the Governing Documents set forth an

adjustment that should be made to each year’s Base Case GDP to reflect this change.

That adjustment is needed to ensure that the comparison of Base Case GDP to Actual

Real GDP would be “apples to apples.”

              23.     Base Case GDP as defined in the Global Security “means, for

any Reference Year, the amount set forth in the chart” in the Global Security. The chart

in the Global Security for the 2005 GDP Warrants starts with Reference Year 2005.



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The chart in the Global Security for the 2010 GDP Warrants starts with Reference Year

2009, and for that year and all the subsequent years for the duration of the Warrants, the

Base Case GDP is the same for the 2005 and 2010 GDP Warrants.

               24.    As noted above, if the Year of Base Prices changes from the

original 1993, the Base Case GDP values must be adjusted. The Global Security

prescribes that adjustment in the definition of Base Case GDP:

               if the Year of Base Prices employed by INDEC for
               determining Actual Real GDP shall at any time be a
               calendar year other than the year 1993, then the Base
               Case GDP for each Reference Year shall be adjusted to
               reflect any such change in the Year of Base Prices by
               multiplying the Base Case GDP for such Reference Year
               (as set forth in chart [contained in the Global Security]) by
               a fraction, the numerator of which shall be the Actual
               Real GDP for such Reference Year measured in constant
               prices of the Year of Base Prices, and the denominator of
               which shall be the Actual Real GDP for such Reference
               Year measured in constant 1993 prices.” (Emphasis
               added.)

Thus, if a change in the Year of Base Prices occurs, then (for any Calculation Date

thereafter) the Base Case GDP for any given Reference Year will be adjusted by a ratio

of two different measures of Actual Real GDP for that Reference Year—using the

revised Year of Base Prices to determine the Actual Real GDP for the numerator, and

using the original Year of Base Prices (1993) to determine it for the denominator. If,

for example, the change in the Year of Base Prices caused Actual Real GDP for a given

year to be 50% higher than it would have been using 1993 prices, Base Case GDP for

that year would be adjusted upward by 50%. Because as of the Calculation Date for

Reference Year 2013—November 1, 2014—INDEC was employing 2004 as the Year

of Base Prices, this adjustment applies to Base Case GDP for Reference Year 2013.



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                 25.      For Reference Year 2013, the Base Case GDP figure in the chart

in the Global Security is ARS 372.8 billion (Exhibit E, Row 14). The numerator of the

adjustment fraction, as specified in the above-quoted provision, is Actual Real GDP for

Reference Year 2013 measured in constant 2004 prices (i.e., ARS 869.5 billion).2

(Exhibit E, Row 11.) The denominator is Actual Real GDP for Reference Year 2013

measured in constant 1993 prices (i.e., ARS 491.3 billion).3 (Exhibit E, Row 12.)

Thus, the adjustment fraction for Reference Year 2013 is 1.77 (Exhibit E, Row 13), and

the Base Case GDP for Reference Year 2013 as so adjusted is ARS 659.7 billion (i.e.,

ARS 372.8 billion multiplied by 1.77) (Exhibit E, Row 15).

                 26.      With the Actual Real GDP figures and the adjusted Base Case

GDP figures, the Payment Amount for Reference Year 2013 can be calculated. The

first step is to multiply Actual Real GDP and Base Case GDP by the GDP Deflator to

determine Actual Nominal GDP and Nominal Base Case GDP, respectively. The GDP




        2
          After November 15, 2014, INDEC published revised data for Actual Real GDP for Reference
Year 2013 measured in constant 2004 prices. Such revised data would not have been available as of the
Calculation Date for Reference Year 2013, and thus would not have been used to determine the Payment
Amount for Reference Year 2013. Even if the revised data were used, rather than the data as of
November 15, 2014, the revised data would not materially change the results of the calculation.

          3
            For Reference Year 2013, INDEC published Actual Real GDP measured in constant 1993
prices for the first three quarters of the year, but did not publish such data for the full year. INDEC,
however, did publish for the full year 2013 an index of economic activity based upon constant 1993
prices (the “EMAE Index”) that took into account the Actual Real GDP data measured in constant 1993
prices published for the first three quarters. INDEC had published the full-year EMAE Index based on
constant 1993 prices for every year from 1993 to 2012, and the full-year EMAE Index for all these years
exactly tracks and correlates to full-year Actual Real GDP measured in constant 1993 prices. (See
Exhibit F, showing year-over-year growth in the EMAE Index based on constant 1993 prices exactly
correlates to year-over-year growth for Actual Real GDP measured in constant 1993 prices). Since the
full-year 2013 EMAE Index based on constant 1993 prices was 4.914% greater than 2012, then full-year
2013 Actual Real GDP measured in constant 1993 prices is necessarily 4.914% greater than 2012. Thus,
based upon data INDEC published, full-year Actual Real GDP for Reference Year 2013 measured in
constant 1993 prices was 491.3 billion ARS, i.e., 468.3 billion ARS multiplied by 1.04914. (Exhibit E,
Row 5.)


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Deflator as defined in the Global Security “means, for any Reference Year, the number

that results from dividing (i) the gross domestic product of Argentina for such

Reference Year measured at the current prices of such Reference Year, as published by

INDEC, by (ii) the Actual Real GDP for such Reference Year.” For Reference Year

2013, Argentina’s GDP at current prices as published by INDEC was ARS 3,339.6

billion (Exhibit E, Row 16), and the Actual Real GDP (using 2004 as the now operative

Year of Base Prices) was ARS 869.5 billion (Exhibit E, Row 17), so the GDP Deflator

for Reference Year 2013 was 3.84 (Exhibit E, Row 18).

               27.    Actual Nominal GDP as defined in the Global Security “means

for any Reference Year an amount equal to Actual Real GDP for such Reference Year

multiplied by the GDP Deflator for such Reference Year.” Thus, Actual Nominal GDP

for Reference Year 2013 was ARS 3,339.6 billion (i.e., ARS 869.5 billion multiplied by

3.84). (Exhibit E, Row 16.)

               28.    Nominal Base Case GDP as defined in the Global Security

“means, for any Reference Year, an amount equal to Base Case GDP for such

Reference Year multiplied by the GDP Deflator for such Reference Year.” Thus, the

Nominal Base Case GDP for Reference Year 2013 was ARS 2,533.7 billion (i.e., ARS

659.7 billion multiplied by 3.84). (Exhibit E, Row 19.)

               29.    The difference between Actual Nominal GDP and Nominal Base

Case GDP is Excess GDP. Excess GDP as defined in the Global Security “means, for

any Reference Year, the amount (expressed in billions of Argentine pesos), if any, by

which Actual Nominal GDP for such Reference Year exceeds the Nominal Base Case

GDP for such Reference Year.” Thus, Excess GDP for Reference Year 2013 was ARS



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805.9 billion, which represents the difference between Nominal Base Case GDP (ARS

2,533.7 billion) and Actual Nominal GDP (ARS 3,339.6 billion). (Exhibit E, Row 20.)

               30.    Excess GDP is then used to calculate Available Excess GDP.

Available Excess GDP as defined in the Global Security “means, for any Reference

Year, an amount in Argentine pesos equal to (i) 5% of Excess GDP for such Reference

Year, multiplied by (ii) the Unit of Currency Coefficient.” The Unit of Currency

Coefficient is defined in the Global Security to be 0.012225. (Exhibit E, Row 21.)

Accordingly, Available Excess GDP for Reference Year 2013 was ARS 0.49260 per

$1.00 USD notional of GDP Warrants, i.e., 805.9 multiplied by 0.05 multiplied by

0.012225. (Exhibit E, Row 22.)

               31.    With Available Excess GDP, the Payment Amount can be

determined. Payment Amount as defined in the Global Security “means for any

Payment Date, an amount equal to (i) the Available Excess GDP (converted into U.S.

dollars) for the Reference Year corresponding to such Payment Date, multiplied by

(ii) the notional amount of this Security outstanding as of such Payment Date. . . .” To

convert Available Excess GDP into U.S. dollars, the Global Security directs the use of

the average free market exchange rate of ARS to USD during the 15 days preceding

December 31 of the Relevant Reference Year, which for Reference Year 2013 was

6.41407 USD/ARS. (Exhibit E, Row 23.) The notional amount of outstanding GDP

Warrants was approximately $17.2 billion as of December 15, 2014. (Exhibit E, Row

26.) Thus, the Payment Amount for 2013 is $1,321,922,620, i.e., 0.49260 divided by

6.41407 multiplied by $17.2 billion (Exhibit E, Row 27), or $0.07680 per notional

dollar of GDP Warrants (Exhibit E, Row 24). Accordingly, the Payment Amount due



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in respect of Plaintiff’s GDP Warrants was $110,535,873, i.e., 0.49260 divided by

6.41407 multiplied by $1,439,263,344 (Exhibit E, Row 29), before pre- and post-

judgment interest.

Test 2: All the Conditions for the Payment Amount to Be Due
Were Satisfied for Reference Year 2013

                 32.   Even when a Payment Amount is positive, the Global Security

provides that holders of the GDP Warrants are only entitled to receive the Payment

Amount in respect of any Reference Year if: (i) Actual Real GDP was greater than

Base Case GDP for such Reference Year, (ii) Actual Real GDP Growth was greater

than Base Case GDP Growth for such Reference Year, and (iii) the aggregate payments

to date under the GDP Warrants and the Payment Amount do not exceed the Payment

Cap. See Exhibit B (2005 Global Security), § 2(b); Exhibit D (2010 Global Security),

§ 2(b). For Reference Year 2013, all three of these conditions were satisfied.

                 33.   As to the first condition, Actual Real GDP for Reference Year

2013, i.e., ARS 869.5 billion (Exhibit E, Row 30), is greater than Base Case GDP for

Reference Year 2013, i.e., ARS 659.7 billion (Exhibit E, Row 31), so the first condition

was satisfied.

                 34.   As to the second condition, it is necessary to determine whether

Actual Real GDP Growth for Reference Year 2013 is greater than Base Case GDP

Growth for 2013.

                 35.   Actual Real GDP Growth as defined in the Global Security

“means, for any Reference Year, the percentage change in Actual Real GDP for such

Reference Year, as compared to Actual Real GDP for the immediately preceding

Reference Year,


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               provided that, if the Year of Base Prices employed by
               INDEC for determining Actual Real GDP for such
               Reference Year and for the immediately preceding
               Reference Year shall differ, then Actual Real GDP for the
               immediately preceding Reference Year shall for this
               purpose be measured using constant prices for the Year of
               Base Prices applicable to the Reference Year in respect of
               which Actual Real GDP Growth is being determined.”
               (Emphasis added.)

The above-quoted provision addresses the possibility that, for the Reference Year in

question, INDEC may be using a Year of Base Prices that is different than the Year of

Base Prices it used for the immediately preceding Reference Year. That is the situation

for Reference Year 2013. For Reference Year 2013, INDEC was using 2004 as the

Year of Base Prices; but for Reference Year 2012, INDEC had used 1993 as the Year of

Base Prices.

               36.    Accordingly, in order to determine Actual Real GDP Growth for

Reference Year 2013, it is necessary to compare Actual Real GDP for Reference Year

2013 to Actual Real GDP for Reference Year 2012 using 2004 as the Year of Base

Prices for both. As noted above, INDEC reported Actual Real GDP for Reference Year

2013 measured in constant 2004 prices as ARS 869.5 billion. (Exhibit E, Row 30.)

According to INDEC, Actual Real GDP for Reference Year 2012 measured in constant

2004 prices was ARS 844.8 billion. (Exhibit E, Row 6.) Thus, Actual Real GDP

Growth for Reference Year 2013 was 2.925% (ARS 869.5 billion divided by ARS

844.8 billion, minus 1). (Exhibit E, Row 32.)

               37.    Base Case GDP Growth as defined in the Global Security

“means, for any Reference Year, the percentage change in Base Case GDP for such

Reference Year, as compared to Base Case GDP for the immediately preceding

Reference Year . . . .” As noted above, when there is a change in the Year of Base

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Prices, the figure for Base Case GDP in the chart in the Global Security needs to be

adjusted. As explained above, Base Case GDP for Reference Year 2013 after making

the adjustment for the change in the Year of Base Prices from 1993 to 2004 is ARS

659.7 billion. (Exhibit E, Row 31.)

               38.    Base Case GDP for Reference Year 2012 from the chart in the

Global Security needs to be similarly adjusted. The numerator of the adjustment

fraction is Actual Real GDP for Reference Year 2012 measured in constant 2004

prices—ARS 844.8 billion (Exhibit E, Row 6)—and the denominator is Actual Real

GDP for Reference Year 2012 measured in constant 1993 prices—ARS 468.3 billion

(Exhibit E, Row 7). Thus, the adjustment fraction for Reference Year 2012 is 1.80.

(Exhibit E, Row 8.) And, when the Base Case GDP figure in the chart in the Global

Security for Reference Year 2012 (ARS 361.1 billion) (Exhibit E, Row 9) is multiplied

by this adjustment fraction (1.80), that results in post-adjustment Base Case GDP for

Reference Year 2012 of ARS 651.5 billion (Exhibit E, Row 10). Base Case GDP

Growth from 2012 to 2013 is therefore 1.263% (ARS 659.7 billion divided by ARS

651.5 billion, minus 1) (Exhibit E, Row 33), which is less than the Actual Real GDP

Growth of 2.925% (ARS 869.5 billion divided by ARS 844.8 billion, minus 1) (Exhibit

E, Row 32), and thus the second pre-condition is satisfied.

               39.    As to the third condition, the Global Security defines the

Payment Cap as “on any given day, an amount equal to [a certain percentage—

48.000% for the 2005 GDP Warrants and 40.609% for the 2010 GDP Warrants] of the




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notional amount of this Security outstanding as of such day.”4 As of the Calculation

Date for Reference Year 2013, 29.960% of the notional amount—or $0.2996 per

notional dollar of GDP warrants—remained under the Payment Cap for both the 2005

and 2010 GDP Warrants. (Exhibit E, Rows 37 & 41.) Because the Payment Amount

for Reference Year 2013—7.680% of the notional amount, or $0.07680 per notional

dollar, of GDP Warrants (Exhibit E, Rows 35 & 39)—was well within the remaining

Payment Cap, the third condition was satisfied.

                                         Claim for Relief
                                       (Breach of Contract)

                 40.     Plaintiff repeats and re-alleges the allegations of paragraphs 1

through 39.

                 41.     Under the terms of the GDP Warrants, defendant Argentina was

contractually obligated to make a Payment Amount of $0.07680 per $1.00 of notional

amount of GDP Warrants on December 15, 2014.

                 42.     Defendant Argentina breached its contractual obligations by

failing to pay such amount when due in accordance with the terms of the GDP

Warrants.

                 43.     As a result of defendant Argentina’s breach, Plaintiff is owed,

and has suffered damages in an amount to be determined at trial, but not less than

$159,077,777 as of the date hereof.




         4
           The lower Payment Cap for the 2010 GDP Warrants reflects payments made to holders of the
2005 GDP Warrants before the issuance of the 2010 GDP Warrants. The holders of the 2010 GDP
Warrants are not entitled to receive such payments retroactively, but the holders of the 2005 and 2010
GDP Warrants are otherwise treated similarly going forward, so the amount remaining under the Payment
Cap is the same for both the 2005 and 2010 GDP Warrants.


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